              Case 2:23-cv-01495-JHC Document 217 Filed 05/08/24 Page 1 of 3




 1                                                              THE HONORABLE JOHN H. CHUN
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 7                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE
 9
     FEDERAL TRADE COMMISSION, et al.,                  Case No. 2:23-cv-01495-JHC
10
                           Plaintiffs,
                                                        AMAZON’S MOTION FOR LEAVE TO
11
                                                        FILE OVER-LENGTH BRIEF RE:
            v.
12                                                      FORTHCOMING OPPOSITION TO
                                                        PLAINTIFFS’ MOTION TO COMPEL
13   AMAZON.COM INC., a corporation,
                                                        PRODUCTION OF DOCUMENTS
                                                        RELATED TO SPOLIATION
14                         Defendant.

15                                                      NOTE ON MOTION CALENDAR:
                                                        May 8, 2024
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17
            Pursuant to Local Rule 7(f), Amazon.com, Inc. seeks leave of the Court to file an over-
18
     length brief opposing Plaintiffs’ Motion To Compel Production Of Documents Related To
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     Spoliation (ECF No. 198) (“Motion”). Amazon anticipates that it will file a response of no
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     more than 5,000 words, which is 800 words more than the 4,200 word limit prescribed by Local
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     Rule 7(e)(4).
22
            The requested extension would aid the Court’s consideration of Plaintiffs’ Motion for two
23
     principal reasons. First, Plaintiffs’ Motion describes events dating back to 2019, both before and
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     during the pre-complaint investigation that spanned several years, and attaches 19 exhibits, many
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     of which are lengthy and detailed. This word extension would allow Amazon to provide the Court
26

     AMAZON’S MOTION FOR LEAVE TO FILE                                  MORGAN, LEWIS & BOCKIUS LLP
     OVER-LENGTH BRIEF - 1                                                           ATTORNEYS AT LAW
                                                                              1301 SECOND AVENUE, SUITE 3000
     (Case No. 2:23-cv-01495-JHC)                                               SEATTLE, WASHINGTON 98101
                                                                          TEL +1.206.274.6400 FAX +1.206.274.6401
              Case 2:23-cv-01495-JHC Document 217 Filed 05/08/24 Page 2 of 3




 1   with an accurate recounting and timeline of the events underlying Plaintiffs’ motion. Second,

 2   Plaintiffs’ motion seeks the extreme remedy of ordering Amazon to produce in discovery materials

 3   that are protected by the attorney-client privilege. The word extension is necessary for Amazon

 4   to set out the legal and factual bases why the Court should protect the attorney-client privilege and

 5   deny Plaintiffs’ motion to compel.

 6           Even with this modest request, Plaintiffs’ combined word count total for their opening brief

 7   and reply will still be more than Amazon’s opposition. This is the first word extension Amazon

 8   has requested in this litigation.

 9           For the foregoing reasons, Amazon respectfully requests the Court grant an additional 800

10   words for its brief in support of its opposition, for a total of 5,000 words, with the length of the

11   reply to be governed by Local Rule 7(f)(4).

12           DATED this 8th day of May, 2024.

13                                                      I certify that this memorandum contains 210 words,
                                                        in compliance with the Local Civil Rules.
14

15                                                      MORGAN, LEWIS & BOCKIUS LLP
16
                                                        By: s/ Patty A. Eakes
17                                                      Patty A. Eakes, WSBA #18888
                                                        Molly A. Terwilliger, WSBA #28449
18                                                      1301 Second Avenue, Suite 3000
19                                                      Seattle, WA 98101
                                                        Phone: (206) 274-6400
20                                                      Email: patty.eakes@morganlewis.com
                                                                molly.terwilliger@morganlewis.com
21
                                                       WILLIAMS & CONNOLLY LLP
22

23                                                     Heidi K. Hubbard (pro hac vice)
                                                       John E. Schmidtlein (pro hac vice)
24                                                     Kevin M. Hodges (pro hac vice)
                                                       Carl R. Metz (pro hac vice)
25                                                     Carol J. Pruski (pro hac vice)
                                                       Jonathan B. Pitt (pro hac vice)
26

     AMAZON’S MOTION FOR LEAVE TO FILE                                    MORGAN, LEWIS & BOCKIUS LLP
     OVER-LENGTH BRIEF - 2                                                             ATTORNEYS AT LAW
                                                                                1301 SECOND AVENUE, SUITE 3000
     (Case No. 2:23-cv-01495-JHC)                                                 SEATTLE, WASHINGTON 98101
                                                                            TEL +1.206.274.6400 FAX +1.206.274.6401
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 1                                         680 Maine Avenue SW
                                           Washington, DC 20024
 2                                         Phone: (202) 434-5000
 3                                         Email: hhubbard@wc.com
                                                  jschmidtlein@wc.com
 4                                                khodges@wc.com
                                                  cmetz@wc.com
 5                                                cpruski@wc.com
                                                  jpitt@wc.com
 6

 7                                         COVINGTON & BURLING LLP

 8                                         Thomas O. Barnett (pro hac vice)
                                           One CityCenter
 9                                         850 Tenth Street, NW
                                           Washington, DC 20001-4956
10
                                           Phone: (202) 662-5407
11                                         Email: tbarnett@cov.com

12                                         Attorneys for Defendant Amazon.com, Inc.

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     AMAZON’S MOTION FOR LEAVE TO FILE                      MORGAN, LEWIS & BOCKIUS LLP
     OVER-LENGTH BRIEF - 3                                               ATTORNEYS AT LAW
                                                                  1301 SECOND AVENUE, SUITE 3000
     (Case No. 2:23-cv-01495-JHC)                                   SEATTLE, WASHINGTON 98101
                                                              TEL +1.206.274.6400 FAX +1.206.274.6401
